                      Case 1:21-mj-00222-ZMF Document 1 Filed 02/11/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                            )
                             v.                                       )
                     Leo Brent Bozell IV                              )    Case No.
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                                      in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
 18 U.S.C. Section 1512(c)(2)                    Obstructing an official proceeding and attempting to do so

 18 U.S.C. Section 1752(a)(1) and                Restricted building and grounds
 (2)

 40 U.S.C. Section 5104(e)(2)                    Disorderly conduct




         This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                       Lynda W. Thomas, Special Agent
                                                                                                Printed name and title
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Date:             02/11/2021
                                                                                                  Judge’s signature

City and state:                           Washington, DC                            Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                Printed name and title
